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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                  :
JOHN M. FARROW                                    :
                                                  :
       v.                                         :                  Civil No. CCB-06-2324
                                                  :
CAPITAL ONE AUTO FINANCE, Inc.                    :
                                                  :
                                                  :


                                        MEMORANDUM

       John Farrow (“Mr. Farrow”), representing a class of similarly situated plaintiffs, has sued

Capital One Auto Finance (“Capital One”) for violations of the Fair Credit Reporting Act

(“FCRA”). Capital One has moved for judgment on the pleadings, arguing that the mailer it sent

to Mr. Farrow constituted a firm offer of credit under the FCRA. The parties have fully briefed

the motions and no hearing is necessary. See Local Rule 105.6. For the reasons articulated

below, Capital One’s motion will be granted.



                                        BACKGROUND

       In 2006, John Farrow received a mailer from Capital One Auto Finance offering him an

auto financing loan. (Compl. Ex. 1.) The mailer stated that he was “Pre-Approved” for “Up to

$30,000" with “No Money Down.” On the back of the mailer, a paragraph labeled “PRE-

SCREEN AND OPT-OUT NOTICE” contained the following statement: “This ‘prescreened’

offer of credit is based on information in your credit report indicating that you meet certain

criteria. This offer is not guaranteed if you do not meet our criteria, including providing


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acceptable property as collateral.” Also on the back of the mailer, under the heading

“IMPORTANT INFORMATION,” were the following terms and conditions: the minimum

amount financed was at least $10,000; the applicant must have a monthly income of at least

$1,500; the applicant cannot be in open bankruptcy; the offer was good for 30 days; the applicant

may need to trade in a current vehicle to close an existing auto finance loan, and the offer was

good only for models within the past seven years and excluded certain makes. (Compl. Ex. 1 at

2, Def’s Mem. Supp. Mot. J. Pleadings at 6.)

       Mr. Farrow has sued Capital One, claiming that the company willfully violated FCRA

when it obtained his credit report without a permissible purpose; specifically, he alleges that the

mailer he received did not constitute a “firm offer of credit” because the offer “is so vague and

lacking in terms as not to constitute an ‘offer capable of acceptance.’” (Compl. at ¶ 11.) In his

complaint, Mr. Farrow argues that to be an offer capable of acceptance, a promise of credit must

specify “the amount of the credit,” “the rate of interest,” and “the duration of the credit.” (Id.)

Capital One has moved for judgment on the pleadings, claiming that the mailer did constitute a

firm offer of credit, and that even if it did not, Capital One’s conduct was not willful as a matter

of law.1



                                            ANALYSIS

       The standard for evaluating a motion for judgment on the pleadings is the same as for a

Rule 12(b)(6) motion to dismiss. Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir.



       1
         Because the mailer constituted a firm offer of credit, there was no violation of FCRA;
thus, there is no need to reach the question of whether Capital One’s behavior was willful.

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1999) (“[V]iewing the Defendants' motion as a Rule 12(c) motion does not have a practical

effect upon our review, because we review the district court's dismissal de novo and in doing so

apply the standard for a Rule 12(b)(6) motion.”). Following the Supreme Court’s ruling in Bell

Atlantic Corp. v. Twombly, 127 S.Ct. 1955 (2007), “[f]actual allegations must be enough to raise

a right to relief above the speculative level, on the assumption that all the allegations in the

complaint are true (even if doubtful in fact).” 127 S. Ct. at 1965. “Once a claim has been stated

adequately, it may be supported by showing any set of facts consistent with the allegations in the

complaint.” Id. at 1969 (quoted in Goodman v. PraxAir, 494 F.3d 458, 466 (4th Cir. 2007).

Moreover, the “plaintiff’s obligation to provide the ‘grounds’ of his ‘entitl[ment] to relief’

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Id. at 1964-65.

       The Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., provides:

               The term “firm offer of credit or insurance” means any
               offer of credit or insurance to a consumer that will be
               honored if the consumer is determined, based on
               information in a consumer report on the consumer, to meet
               the specific criteria used to select the consumer for the
               offer.

Id. at § 1681a(l). The offer may be further conditioned on several factors, including the

consumer meeting specific criteria bearing on creditworthiness, verification that the consumer

continues to meet the specific criteria used to select her for the offer, and the furnishing of any

required collateral. Id. at § 1681a(l)1)-(3). Regarding the additional conditions that may be

placed on a “pre-qualified” candidate, the Fifth Circuit has noted that the FCRA “permits a

creditor to make a ‘conditional’ firm offer of credit; that is, an offer that is conditioned on the

consumer meeting the creditor’s previously-established criteria. . . . [A] firm offer of credit

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under the Act really means a firm offer if you meet certain criteria.” Kennedy v. Chase

Manhattan Bank USA, N.A., 369 F.3d 833, 841 (5th Cir. 2004) (internal quotations omitted).

       The FCRA also mandates that certain disclosures be made within the credit solicitations.

15 U.S.C. § 1681m(d). Each written solicitation must contain a “clear and conspicuous

statement” of the following:

             (A) information contained in the consumer's consumer report
       was used in connection with the transaction;
            (B) the consumer received the offer of credit or insurance
       because the consumer satisfied the criteria for credit worthiness
       [creditworthiness] or insurability under which the consumer was
       selected for the offer;
            (C) if applicable, the credit or insurance may not be extended
       if, after the consumer responds to the offer, the consumer does not
       meet the criteria used to select the consumer for the offer or any
       applicable criteria bearing on credit worthiness or insurability or
       does not furnish any required collateral;
            (D) the consumer has a right to prohibit information contained
       in the consumer's file with any consumer reporting agency from
       being used in connection with any credit or insurance transaction
       that is not initiated by the consumer; and
            (E) the consumer may exercise the right referred to in
       subparagraph (D) by notifying a notification system established
       under section 604(e) [15 USCS § 1681b(e)].


Id. at § 1681m(d)(1)(A)-(E).2 The statement must also include the address and telephone number

where the consumer may request that his information no longer be disclosed for prescreening

purposes. Id. at § 1681m(d)(2).

       The Fourth Circuit has not addressed the issue of what types of credit solicitations


       2
         The statute does not establish a private right of action for failure to include a “clear and
conspicuous” disclosure statement. See 15 U.S.C. § 1681m(h)(8); see also Putkowski v. Irwin
Home Equity Corp., 423 F. Supp. 2d 1053, 1061-62 (N.D. Cal. 2006) (explaining that the Fair
and Accurate Credit Transactions Act of 2003 amended FCRA to make it clear that there is no
private right of action for violations of § 1681m).

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constitute firm offers of credit.3 Several courts in this and other circuits, however, have

examined the issue, and their approaches are instructive; the majority of courts have concluded

that firm offers of credit exist where the credit offer is honored if the consumer meets specific

criteria, and where the conditions attached to acceptance of the offer are permissible under

FCRA. See, e.g., Soroka v. J.P. Morgan Chase & Co., 500 F. Supp. 2d 217 (S.D.N.Y. 2007); see

also Crossman v. Chase Bank USA NA, No. 07-116-CWH, 2007 WL 2702699 (D.S.C. Sept. 12,

2007).4

          A court in the Eastern District of Michigan recently examined a mailer virtually identical


          3
          Specifically, the Fourth Circuit has not adopted the test initially formulated by the
Seventh Circuit, under which a firm offer of credit must convey some value to the consumer
sufficient to lift it above a sham or solicitation. See, e.g., Cole v. U.S. Capital, Inc., 389 F.3d
719 (7th Cir. 2004). Even the Seventh Circuit, however, does not require that “a ‘firm offer of
credit’. . . meet a state law definition of an offer.” Sullivan v. Greenwood, 499 F. Supp. 2d 83,
87 (D. Mass 2007). Additionally, a more recent decision by the Seventh Circuit noted that when
examining a FCRA claim, “a court need only determine whether the four corners of the offer
satisfy the statutory definition . . ., and whether the terms are honored when consumers accept.”
Murray v. GMAC Mortg. Corp., 434 F.3d 948, 956 (7th Cir. 2006). See also Perry v. First Nat’l
Bank, 459 F.3d 816, 825 (7th Cir. 2006) (holding that a credit offer worth approximately $75
constituted a “firm offer of credit” because, although the offer might not be “an attractive deal
for the great majority of consumers,” the card could be used for any type of purchase and was
“not without value”).
         One of the factors that argued against the Cole offer’s being of sufficient value was the
paltry amount of guaranteed credit ($300), and the fact that it could only be used to purchase a
car. 389 F.3d at 728. See also Hyde v. RDA, Inc., 389 F. Supp. 2d 658 (D. Md. 2005)
(concluding that guarantee of $300 in credit was not of sufficient value to constitute a firm offer
of credit where consumer had to spend the credit at defendant’s dealership, and there were no
cars for sale at $300). Credit offers such as Capital One’s may be distinguished from the type of
offer made in Cole. See Soroka v. JP Morgan Chase & Co., 500 F. Supp. 2d 217, 223 (S.D.N.Y.
2007) (noting that the amount of credit was more than “nominal,” and “Defendants were not
attempting to sell Plaintiff any other products in conjunction with the offer of credit, as were the
defendants in Cole”). In this case, the minimum amount to be financed was $10,000, and the
creditor and car dealer were two separate entities. (Compl. Ex. 1.)
          4
        Crossman is cited not for its precedential value but for its reasoning, and because it is
one of the few decided cases on this issue within the Fourth Circuit.

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to the one in the instant case, produced by the same defendant. In Phinn v. Capital One Auto

Finance, 502 F. Supp. 2d 625 (E.D. Mich. 2007), the defendant’s motion to dismiss was granted

on the ground that FCRA does not require that an offer of credit contain all material terms. In

examining a mailer that offered “up to $25,000 in auto financing . . . to [purchase a] car, truck or

SUV,” id. at 627, the court noted the presence of additional, statutorily permissible restrictions

on the offer. Specifically rejecting the plaintiff’s argument that the absence of interest rates and

terms of repayment rendered the document illegal under FCRA, the court concluded that “the

mailer extended Plaintiff an offer of credit between $10,000 and $25,000, provided that Plaintiff

meet additional criteria. Under the plain language of the FCRA, this is all that is required to

constitute a ‘firm offer of credit.’” Id. at 629.

        The statutory definition of FCRA only requires that Capital One have made an offer of

credit which will be honored if Mr. Farrow meets the relevant and statutorily permissible criteria.

See 15 U.S.C. § 1681b(a) (defining “firm offer of credit”). This definition “differs from what

might be considered a firm offer in other business contexts or at common law in that such an

offer may be conditioned on the consumer’s meeting certain requirements after the offer is

made.” Soroka, 500 F. Supp. 2d at 221-22.           Those requirements include whether the consumer

meets the creditworthiness criteria established by the lender before the mailing of the offer,

verification that the consumer continues to meet that criteria, and the furnishing of collateral. Id.

at § 1681a(l). The mailer in this case clearly stated that, in order to accept the offer of credit, the

consumer must have a minimum monthly income of $1,500, must be 18 years of age, must not

be in open bankruptcy, and must provide acceptable property as collateral. (Compl. Ex. 1, Def’s

Mem. Supp. Mot. J. Pleadings at 6.) Mr. Farrow has not alleged that Capital One would not


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have extended him credit had he applied and met the appropriate criteria.

       Moreover, Mr. Farrow has failed to name any disclosures that are required by FCRA but

not made in the mailer he received from Capital One. Because FCRA lists other required

disclosures in § 1681m(d), under the statutory construction canon of inclusio unius est exclusio

alterius, courts “should not imply any additional disclosure requirements.” Phinn, 502 F. Supp.

2d at 629. “If Congress had wanted to require that loan amounts, interest rates, or payback

times be specified in a ‘firm offer,’ it could have done so.” Dixon v. Shamrock, 482 F. Supp. 2d

172, 176 (D. Mass. 2007). Additionally, some courts have pointed out that “[e]very consumer

and every lender has a common understanding that [] loans are made for a definite period of

time, [and] that banks charge interest for lending money,” see, e.g., Poehl v. Countrywide Home

Loans, Inc., 464 F. Supp. 2d 882, 886 (E.D. Mo. 2006), a fact which makes the mandatory

disclosure of such terms in the initial credit offer less necessary.

       Significantly, the disclosure of material terms such as interest rates and repayment

periods is specifically covered by a different statute - the Truth in Lending Act. See Soroka, 500

F. Supp. 2d at 222 (noting that “the disclosure of such terms is governed by other statutes within

the Consumer Credit Protection Act. . . . The TILA requires these disclosures at a point in the

credit transaction subsequent to a FCRA firm offer, that is, at the time that the consumer is

provided with an application or before the transaction is completed.”) The fact that FCRA is

silent on the issue of material terms, and that TILA is very clear about what is required, suggests

that Congress did not intend to require that firm offers of credit under FCRA contain all material

pricing information.




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                                         CONCLUSION

       Because FCRA does not require that an offer of credit disclose all material terms, and

because the mailer that Mr. Farrow received met the statutory criteria for a firm offer of credit,

Capital One has committed no violation of FCRA. As such, Capital One’s motion for judgment

on the pleadings will be granted.




   November 9, 2007                                                  /s/
      Date                                            Catherine C. Blake
                                                      United States District Judge




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